Case 1-24-40294-nni DOC y-9 Filed Qo/O//24 Entered Us/O 7/24 214009

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re:

Case No. 1-24-40294

New York International Bagel & Coffee Inc.

Chapter 7

Debtor(s).
Xx

AFFIRMATION RELATING TO AMENDED PAGES

Mahmoud Ismail, duly affirms, under the penalty of perjury as follows:

1. Iam the Principal of the Debtor and as such I am fully familiar with all the facts and circumstances.

2. submit this affirmation pursuant to local Bankruptcy Rule 1009-1(a) with regard to the amended pages being
filed herein.

a.

Schedule E/F is being hereby amended (Part 2, page 1) to add the two creditors, to wit: Abraham
Gonzalez and Efrain Zamora Nendieta, who are both represented by the same attorney, Michael S.
Samuel, Esq., 1441 Broadway, Suite 6085, New York, NY 10018. The two claimants allege that they are
owed wages for working more hours than they were paid for. This is categorically denied by the
undersigned.

The Statement of Financial Affairs is being amended (Part 3, page 2), to indicate the fact that the two
aforementioned creditors, as Plaintiffs, have pending litigation against the Debtor as well as the
undersigned. The information regarding the Court, amount alleged and other information is part of the
amendment.

Official Form 206Sum is being amended to add the alleged amounts owed to the two added creditors, as
indicated on Schedule E/F. The amendment reflects the sum of the total claimed amounts of what is now
3 non-priority unsecured creditors. Prior to the amendment, there was only 1 non-priority unsecured
creditor. The only other creditor in the case is the corporation’s former landlord.

Dated: May 7 , 2024

USBC-63

Manhasset, NY

Mabyroud Ismail, Principal and Sole
Shareholder of the Debtor

Rev. 1/14/04
